Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 1 of 21 Page ID #:1




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                           Atlanta Division


 JAMES WOODS, individually and as               Case No: _______________________
 representatives of the class,

                         Plaintiff,
       vs.                                          CLASS ACTION COMPLAINT

 UBER TECHNOLOGIES, INC.,                             DEMAND FOR JURY TRIAL

                         Defendant.




      Plaintiff James Woods (“plaintiff” or “Woods”), individually and on behalf of

the class set forth below, brings the following class action complaint against

defendant Uber Technologies, Inc. (“Uber”):

                          PRELIMINARY STATEMENT

      1.     This case is about one of the largest data security breaches in United

States history, affecting millions of consumers who use Uber’s ridesharing service.

      2.     As a result of this breach, plaintiff Woods and the class members whose

personal information was not safeguarded now face substantial risk of further injury

from identity theft, credit and reputational injury, false tax claims, or even extortion.



                                           1
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 2 of 21 Page ID #:2




      3.     On or about November 21, 2017, Uber publicly acknowledged that it

paid hackers at least $100,000 to conceal the existence of the data security breach,

which occurred over a year earlier, in October, 2016.

      4.     The data security breach disclosed the personal information of

approximately 57 million Uber customers.

      5.     The data security breach was caused by Uber’s knowing violation of its

obligation to secure consumer information.

      6.     Uber failed to comply with security standards and allowed its drivers’

and customers’ private information to be compromised.

      7.     Plaintiff Woods seeks redress individually, and on behalf of those

similarly-situated, for the injuries that he and class members sustained as a result of

Uber’s negligent and intentional violations of law.

      8.     Plaintiff Woods asserts these claims on behalf of a nationwide class of

Uber users for monetary relief, injunctive relief, corresponding declaratory relief,

and other appropriate relief for Uber’s unlawful conduct, as described herein.

                                     PARTIES

      9.     Plaintiff James Woods is Georgia citizen residing in DeKalb County,

Georgia. He has used the Uber ridesharing application to hail rides throughout the

greater Atlanta metro area.
                                          2
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 3 of 21 Page ID #:3




      10.     Defendant Uber is a global transportation technology company

incorporated in Delaware, with its principal place of business in San Francisco,

California.   Uber may be served with process upon its registered agent CT

Corporation System, 289 South Culver Street, Lawrenceville, Georgia 30046.

      11.     Upon information and belief, Uber’s wrongful acts and omissions

leading to this data security breach occurred nationwide and in this district.

                            JURISDICTION & VENUE

      12.     This court has subject matter jurisdiction over this action under the

Class Action Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy

exceeds $5 million exclusive of interest and costs. Plaintiff Woods, the class

members, and Uber are citizens of different states. There are more than 100 putative

class members.

      13.     This court has personal jurisdiction over Uber because plaintiff Woods’

claims arise out of Uber’s contacts with Georgia.

      14.     Venue is proper in this court pursuant to 28 U.S.C. § 1391(b), (c), and

(d). Uber registered to do business, transacted business, were found, and had agents

in this district; a substantial part of the events giving rise to the plaintiffs’ claims

arose in this district, and a substantial portion of the affected interstate commerce

described below has been carried out in this district.
                                           3
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 4 of 21 Page ID #:4




                                        FACTS

        15.   On November 21, 2017, Uber disclosed that a data security breach

occurred in October 2016, during which hackers pilfered Uber customer data stored

on a third-party cloud based service.

        16.   Uber revealed that the breach exposed the information of

approximately 60,000 Uber drivers, including driver’s license information, and

names, email addresses, and private cellular telephone numbers of 57 million Uber

customers.

        17.   Rather than comply with its lawful obligation to disclose the breach to

regulators and the public, Uber paid the hackers behind the breach $100,000 in

exchange for the criminals’ silence and assurance that they would delete the data.

        18.   Uber covered up the payment by calling it a “bug bounty,” a legitimate

payment to third parties to stress test the security of their systems.

        19.   Uber continued to fail to inform affected customers for more than one

year.

        20.   This data security breach was not the first instance of Uber’s disregard

for customer privacy.

        21.   On November 19, 2014, Uber founder Travis Kalanick received a letter

from then Senator Al Franken stating that Uber had a “troubling disregard for
                                           4
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 5 of 21 Page ID #:5




customer privacy” and that “it appears that on prior occasions [Uber] has condoned

use of customers’ data for questionable purposes.”

      22.    On February 27, 2015, Uber belatedly disclosed that nine months

earlier it suffered a data security breach that compromised the names and license

plate numbers for approximately 50,000 of its drivers.

      23.    In August 2017, Uber inked a settlement with the Federal Trade

Commission admitting to making false claims about the privacy of consumer data,

and to maintaining inadequate safeguards to protect consumer data.

      24.    Uber’s conduct demonstrates a willful and conscious disregard for

consumer privacy.

      25.    As a result of Uber’s conduct, plaintiff Woods and the class members

had their personal information exposed to sophisticated cyber-criminals who trade

such information on an international black market.

      26.    Plaintiff Woods brings this action on his own behalf as well as on behalf

of all Uber customers.

      27.    Plaintiffs Woods seeks declaratory and injunctive relief to prevent Uber

from continuing its unlawful conduct, and to recover damages and costs, including

reasonable attorneys’ fees, for the injuries that he and class members have sustained.



                                          5
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 6 of 21 Page ID #:6




                           CLASS ACTION ALLEGATIONS

       28.     Plaintiff Woods and the class members, as defined below, have been

damaged by Uber’s negligent or reckless disregard for their personal information, as

well as Uber’s intentional silence regarding the existence and nature of the data

security breach.

       29.     Plaintiff Woods brings this action as a class action pursuant to Rule 23

of the Federal Rules of Civil Procedure.

       30.     Plaintiff Woods asserts the claims herein on behalf of a proposed

Nationwide Class (“the class”) defined as follows:

             All United States residents whose information was made
       accessible in the data security breach announced by Uber on November
       21, 2017. 1 0F




       31.     Numerosity: The members of the class are so numerous that joinder of

all class members is impracticable. More than 57 million Uber users are affected by

the data security breach.




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  The following are excluded from the Nationwide Class: (1) the defendants, their parent
companies, subsidiaries and affiliates, and any co-conspirators; and (2) any judge or magistrate
presiding over this action, and members of their families. The plaintiffs reserve the right to amend
the class period and/or class definition if discovery and further investigation reveal that the class
should be expanded, divided into additional subclasses, or modified in any way.

                                                 6
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 7 of 21 Page ID #:7




      32.    Typicality: Plaintiff Woods’ claim is typical of other class members

because, among other things, all class members were comparably injured by Uber’s

negligent, reckless, and intentional conduct, as described above, which caused the

data security breach.

      33.    Adequacy: Plaintiff Woods will fairly and adequately protect the

interests of the class. Furthermore, he has retained counsel experienced in class

actions and complex litigation.

      34.    Commonality and Predominance: Common questions of law and fact

exist as to all class members and predominate over any questions solely affecting

individual members of the class, including but not limited to:

             a) whether Uber owed duties under federal or state law to class

                members to protect their personal information, provide timely notice

                of unauthorized access to this information, and provide meaningful

                and fair redress;

             b) whether Uber breached said duties;

             c) whether Uber acted wrongfully by improperly monitoring, storing,

                and/or failing to properly safeguard the class members’ personal

                information;



                                         7
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 8 of 21 Page ID #:8




            d) whether Uber knew, or reasonably should have known, about the

               deficiencies in its data storage systems;

            e) whether Uber willfully failed to design, employ, and maintain a

               system adequate to protect consumers’ personal information;

            f) whether Uber’s representations regarding the security of its systems

               were false and misleading;

            g) whether Uber’s acts and omissions violated applicable state

               consumer protection law;

            h) whether Uber’s failures resulted in the data security breach at issue;

            i) whether Uber failed to properly and timely notify plaintiff Woods

               and class members of the breach as soon as practicable after it was

               discovered;

            j) whether Uber’s acts of concealment violated applicable state

               consumer protection laws; and

            k) whether class members have been damaged and, if so, the

               appropriate relief.

      35.   This case is maintainable as a class action under Fed. R. Civ. P. 23(b)(2)

because the defendants have acted or refused to act on grounds that apply generally



                                         8
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 9 of 21 Page ID #:9




to the class, so that final injunctive relief or corresponding declaratory relief is

appropriate respecting the class as a whole.

      36.      Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and fact common to the class predominate over any

questions affecting only individual members of the class, and because a class action

is superior to other available methods for the fair and efficient adjudication of this

controversy.

      37.      Uber’s conduct as described in this complaint stems from common and

uniform policies and practices, resulting in a colossal data security breach as well as

a deliberate and systematic cover-up scheme to hide the extent and nature of the

breach from regulators as well as those affected by the breach.

      38.      The class members do not have an interest in pursuing separate

individual actions against Uber, as the amount of each class member’s individual

claims are small compared to the expense and burden of individual prosecution.

      39.      Class certification also will obviate the need for unduly duplicative

litigation that might result in inconsistent judgments concerning Uber’s practices.

Moreover, management of this action as a class action will not present any likely

difficulties. In the interests of justice and judicial efficiency, it would be desirable

to concentrate the litigation of all class members’ claims in a single forum.
                                           9
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 10 of 21 Page ID #:10




       40.   Plaintiff Woods intends to send notice to all class members to the extent

 required by Rule 23.

                              CLAIMS FOR RELIEF

  COUNT I – VIOLATION OF CALIFORNIA BUSINESS & PROFESSIONS
   CODE § 17200 – UNLAWFUL, UNFAIR OR FRAUDULENT BUSINESS
                              PRACTICES
                   (On behalf of the Nationwide Class)

       41.   Plaintiff Woods, on behalf of the Nationwide Class, alleges and

 incorporates by reference the allegations in the preceding paragraphs.

       42.   Uber, as a California based entity, is subject to the laws and regulations

 of the State of California, including but not limited to the California Business and

 Professions Code.

       43.   Uber violated Cal. Bus. Prof. Code § 17200 et seq. by engaging in

 unlawful, unfair, or fraudulent business acts and practices, as well as unfair,

 deceptive, untrue, or misleading advertising that constitute acts of “unfair

 competition” as defined in Cal. Bus. Prof. Code § 17200.

       44.   Uber engaged in unlawful acts and practices with respect to their

 services by establishing inadequate security practices and procedures described

 herein; by soliciting and collecting plaintiff Woods’ and class members’ personal

 information with knowledge that such information would not be adequately


                                         10
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 11 of 21 Page ID #:11




 protected; and by gathering plaintiff Wodds’ and class members’ personal

 information in an unsecure electronic environment in violation of California’s data

 breach statute, Cal. Civ. Code § 1798.81.5, which requires Uber to undertake

 reasonable methods of safeguarding the personal information of plaintiff Woods and

 the class members.

       45.    In addition, Uber engaged in unlawful acts and practices when it failed

 to discover and then disclose the data security breach to plaintiff Woods and the

 class members in a timely and accurate manner, contrary to the duties imposed by

 Cal. Civ. Code. § 1798.82.

       46.    To date, Uber still has not provided sufficient information regarding the

 data security breach to plaintiff Woods and the class members.

       47.    As a direct and proximate result of Uber’s unlawful acts and practices,

 plaintiff Woods and the class members were injured and lost money or property,

 including but not limited to the loss of their legally protected interests in the

 confidentiality and privacy of their personal information.

       48.    Uber knew or should have known that their data security practices were

 inadequate to safeguard plaintiff Woods’ and the class members personal

 information, that the risk of a data security breach was significant, and that their

 system was, in fact, breached.
                                          11
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 12 of 21 Page ID #:12




       49.    Uber’s actions in engaging in the above-named unlawful practices were

 negligent, knowing and willful, and/or wanton and reckless with respect to the rights

 of plaintiff Woods and the class members.

       50.    Plaintiff Woods and the class members seek relief under Cal. Bus. Prof.

 Code § 17200, et seq., including, but not limited to: restitution to plaintiff Woods

 and class members of money and property that Uber has acquired by means of

 unlawful and unfair business practices; disgorgement of all profits accruing to Uber

 because of its unlawful and unfair business practices; declaratory relief; attorneys’

 fees and costs (pursuant to Cal. Code. Civ. Proc. § 1021.5); and injunctive or other

 equitable relief.

                 COUNT II – BREACH OF FIDUCIARY DUTIES
                     (On behalf of the Nationwide Class)

       51.    Plaintiff Woods, on behalf of the nationwide class, alleges and

 incorporates by reference the allegations in the preceding paragraphs.

       52.    Uber, by virtue of its possession, custody, and/or control of plaintiff

 Woods’ and the class members’ personal information, and Uber’s duty to properly

 monitor and safeguard said information, was, and continues to be, in a confidential,

 special, and/or fiduciary relationship with plaintiff Woods and the class members.




                                          12
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 13 of 21 Page ID #:13




       53.    As a fiduciary, Uber owed, and continues to owe, plaintiff Woods and

 the class members:

              (a) the commitment to deal fairly and honestly;

              (b) the duties of good faith and undivided loyalty; and

              (c) integrity of the strictest kind.

       54.    Uber was, and continues to be, obligated to exercise the highest degree

 of care in carrying out the responsibilities to plaintiff Woods and class members

 under such confidential, special, and/or fiduciary relationships.

       55.    Uber breached its fiduciary duties to plaintiff Woods and the class

 members when it failed to adequately store, monitor, and protect plaintiff Woods’

 and class members’ personal information.

       56.    Uber willfully and wantonly breached its fiduciary duties to plaintiff

 Woods and the class members or, at the very least, committed these breaches with

 conscious indifference and reckless disregard of plaintiff Woods’ and the class

 members’ rights and interests.

                           COUNT III – NEGLIGENCE
                         (On behalf of the Nationwide Class)

       57.    Plaintiff Woods, on behalf of the Nationwide Class, alleges and

 incorporates by reference the allegations in the preceding paragraphs.


                                            13
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 14 of 21 Page ID #:14




           58.   Uber was, and continues to be, in a confidential, special, and/or

 fiduciary relationship with plaintiff Woods and the class members by virtue of being

 trusted with their personal information.

           59.   At the very least, Uber assumed a duty, and had duties imposed upon it

 by regulations, to comply with applicable security standards, regulations, and

 statutes, and to otherwise use reasonable care to safeguard plaintiff Woods’ and the

 class members’ personal information.

           60.   Uber also had a duty to timely inform plaintiff Woods and the class

 members of the data security breach, and of the fact that their personal information

 had been compromised and/or stolen; furthermore, upon learning of the breach, Uber

 had a duty to take immediate action to protect plaintiff Woods and the class members

 from the foreseeable consequences of the breach.

           61.   By its acts and omissions as described herein, Uber unlawfully

 breached its duty and plaintiff Woods and the class members were harmed as a direct

 result.

           62.   Uber knew, or should have known, that its system for processing and

 storing class members’ personal information was replete with security

 vulnerabilities.



                                            14
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 15 of 21 Page ID #:15




       63.    Uber was negligent by continuing to accept, process, and store such

 information in light of its computer system vulnerabilities and the sensitivity of the

 personal information stored therein.

       64.    The data security breach, and resulting damages suffered by plaintiff

 Woods and the class members, were the direct and proximate result of a number of

 actions and omissions, including but not limited to:

              (a) Uber’s improper retention and storage of plaintiff Woods’ and class

                 members’ personal information;

              (b) Uber’s failure to use reasonable care to implement and maintain

                 appropriate security procedures reasonably designed to protect such

                 information;

              (c) Uber’s delay of over a year before notifying plaintiff Woods and

                 class members about the breach;

              (d) Uber’s failure to take immediate and effective action to protect

                 plaintiff Woods and class members from potential and foreseeable

                 damage.

       65.    Uber’s wrongful actions, as described above, reflect a breach of the

 duty of reasonable care and, therefore, constitute negligence.



                                          15
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 16 of 21 Page ID #:16




       66.    Plaintiff Woods and the class members have not in any way contributed

 to the data security breach or theft of their personal information.

                       COUNT IV – NEGLIGENCE PER SE
                        (On behalf of the Nationwide Class)

       67.    Plaintiff Woods, on behalf of the Nationwide Class, alleges and

 incorporates by reference the allegations in the preceding paragraphs.

       68.    Pursuant to the Graham-Leach-Bliley Act, 15 U.S.C. § 6801, and

 related state consumer data protection statutes, Uber had a duty to protect and keep

 consumers’ personal information secure, private, and confidential.

       69.    Uber violated these laws by not adequately safeguarding plaintiff

 Woods’ and class members’ personal information, as well as by not ensuring that

 Uber itself complied with applicable data security standards, card association

 standards, regulations and/or statutes designed to protect such information.

       70.    Uber’s failure to comply with the Graham-Leach-Bliley Act, industry

 standards, and state laws and regulations constitutes negligence per se.

                     COUNT V – BREACH OF CONTRACT
                       (On behalf of the Nationwide Class)

       71.    Plaintiff Woods, on behalf of the Nationwide Class, alleges and

 incorporates by reference the allegations in the preceding paragraphs.



                                           16
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 17 of 21 Page ID #:17




       72.    Plaintiff Woods and the class members were parties to actual or implied

 contracts with Uber that required Uber to properly safeguard their personal

 information from theft, compromise, and/or unauthorized disclosure.

       73.    Additionally, plaintiff Woods and the class members were third-party

 beneficiaries to contracts between Uber and other entities under which Uber is

 required to safeguard its customers’ personal information from theft, compromise,

 and/or unauthorized disclosure.

       74.    Uber’s wrongful acts as described herein constitute breaches of these

 contracts.

                           COUNT VI – BAILMENT
                       (On behalf of the Nationwide Class)

       75.    Plaintiff Woods, on behalf of the Nationwide Class, alleges and

 incorporates by reference the allegations in the preceding paragraphs.

       76.    Plaintiff Woods’ and the class members’ personal information is their

 property, which they delivered to Uber for the sole and specifying purpose of

 completing one or more commercial transactions.

       77.    Uber accepted plaintiff Woods’ and class members’ personal

 information and, thus, served as a bailee with respect to the above-referenced

 transaction(s).


                                         17
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 18 of 21 Page ID #:18




       78.   Uber, as a bailee, owed a duty to plaintiff Woods and class members

 and, in fact, had an express and/or implied contract with them to protect their

 personal information from theft, compromise, or unauthorized disclosure.

       79.   Uber breached its duty and/or express and implied contracts with

 plaintiff Woods and class members by improperly storing and inadequately

 protecting their personal information from theft, compromise, and/or unauthorized

 disclosure, which directly and proximately caused plaintiff Woods and class

 members to suffer damages.

       80.   Uber’s wrongful actions constitute breaches of their duty (and/or

 express and/or implied contracts) with plaintiff Woods and the class members

 arising from the bailment.

                                PRAYER FOR RELIEF

       81.   As a direct and proximate cause of Uber’s wrongful conduct, plaintiff

 Woods and the class members sustained, and will continue to incur, damages in the

 form of:

             a) the unauthorized disclosure and/or compromise of their personal

                 information;

             b) monetary losses and damage to credit from fraudulent charges made

                 upon their accounts; and
                                        18
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 19 of 21 Page ID #:19




              c) the burden and expense of credit monitoring.

       82.    Accordingly, plaintiff Woods, individually and on behalf of the classes,

 requests relief as follows:

              a) certification of the Nationwide Class pursuant to Fed. R. Civ. P. 23,

                 as requested herein;

              b) appointment of plaintiff Woods as class representative, and the

                 undersigned counsel as class counsel;

              c) an order directing that reasonable notice of this action, as provided

                 by Fed. R. Civ. P. 23(c)(2), be given to each and every class

                 member;

              d) equitable relief to prevent any additional harm including, but not

                 limited to, provision of credit monitoring services for a period of

                 time to be determined by a trier of fact;

              e) an injunction permanently enjoining Uber, as well as its subsidiaries

                 and affiliates from further engaging in the same acts or omissions

                 that led to the data security breach described above;

              f) a judgment in favor of plaintiff Woods and class members under the

                 legal theories alleged herein;



                                          19
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 20 of 21 Page ID #:20




              g) an award to the plaintiffs and class members of nominal damages,

                 compensatory damages, and/or punitive damages, to the extent

                 allowed by law;

              h) an award to the plaintiffs and class members of restitution and/or

                 disgorgement of profits;

              i) an award of pre- and post-judgment interest as provided by law, and

                 that such interest be awarded at the highest legal rate from and after

                 the date of service of this complaint;

              j) an award of reasonable attorneys’ fees, costs, and expenses; and

              k) granting such other relief as the court deems just and proper.

                           DEMAND FOR JURY TRIAL

       83.    Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the

 plaintiff and the class demand a trial by jury.




                                 [signature affixed next page]
                                            20
Case 2:18-cv-03170-PSG-GJS Document 1 Filed 03/01/18 Page 21 of 21 Page ID #:21




       Respectfully submitted March 1, 2018.

                                     BEASLEY, ALLEN, CROW, METHVIN,
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                                       21
